           Case 2:18-cv-01185-JAD-CWH Document 1 Filed 06/29/18 Page 1 of 4




 1   DAYLE ELIESON
     United States Attorney
 2   District of Nevada
 3   TROY K. FLAKE
     Assistant United States Attorney
 4   LUIS A. GARCIA
     Special Assistant United States Attorney
 5         350 South Figueroa Street, Suite 370
           Los Angeles, California 90071-1202
 6         Telephone: (213) 894-2681
           Facsimile: (213) 894-2064
 7         E-mail: garcia.luis.a@dol.gov
 8   Attorneys for the United States.
 9
10                             UNITED STATES DISTRICT COURT
11                                      DISTRICT OF NEVADA
12
13 R. ALEXANDER ACOSTA, Secretary of               Case No.: 2:18-cv-01185
   Labor, United States Department of Labor,
14
                                                   SECRETARY OF LABOR’S PETITION
15               Petitioner,                       TO ENFORCE ADMINISTRATIVE
                                                   SUBPOENA DUCES TECUM ISSUED
16                      v.                         BY THE OFFICE OF LABOR
                                                   MANAGEMENT STANDARDS, U.S.
17   LOCAL 872, LABORERS                           DEPARTMENT OF LABOR
     INTERNATIONAL UNION OF
18   NORTH AMERICA,
19               Respondent.
20
21         R. Alexander Acosta, Secretary of Labor, United States Department of Labor (the
22   “Petitioner” or “Secretary”), hereby alleges as follows:
23                              PRELIMINARY STATEMENT
24         1.     The Secretary brings this Petition against Respondent Local 872, Laborers
25   International Union of North America (“Local 872”) to enforce an administrative
26   subpoena duces tecum (“Subpoena”) served on Local 872, on May 16, 2018, by the
27   Office of Labor-Management Standards, U.S. Department of Labor (“OLMS” or
28   “Agency”). The Subpoena was issued in the course of the Agency’s investigation
           Case 2:18-cv-01185-JAD-CWH Document 1 Filed 06/29/18 Page 2 of 4




 1   conducted under Section 601 of the Labor-Management Reporting and Disclosure Act of
 2   1959, 29 U.S.C. § 521 ( “LMRDA”) of four union member administrative complaints
 3   protesting the nomination process for Local 872’s May 31, 2018 unsupervised election
 4   of officers.
 5                                 JURISDICTION AND VENUE
 6          2.      Local 872 is a “labor organization” within the meaning of Sections 3(i) and
 7   (j) of the LMRDA, 29 U.S.C. § 402(i) and (j). Local 872 is subject to the coverage of
 8   the LMRDA under Sections 3(d) and 601(a) of the LMRDA, 29 U.S.C. §§ 402(d) and
 9   521(a). Local 872’s principal place of business is 2345 Red Rock Street, Las Vegas,
10   Nevada 89146.
11          3.      The Court has subject matter jurisdiction over this Petition under Sections 9
12   and 10 of the Federal Trade Commission Act, 15 U.S.C. §§ 49 and 50, which applies to
13   the LMRDA under Section 601(b) of the LMRDA, 29 U.S.C. § 521(b), 29 U.S.C. §
14   1331 (federal question jurisdiction) and 29 U.S.C. § 1345 (United States as plaintiff).
15          4.      Venue is proper under 15 U.S.C. § 49 because OLMS is conducting an
16   investigation of Local 872 within this judicial district.
17                          THE INVESTIGATION AND SUBPOENA
18          5.      Between May 15-17, 2018, OLMS received four Local 872 member
19   complaints under Section 402 of the LMRDA, 29 U.S.C. § 482, protesting the election
20   process for Local 872’s May 31, 2018 election of officers. The complaints alleged
21   failure to provide proper notice of nominations, failure to provide reasonable opportunity
22   to nominate, disparate candidate treatment, failure to follow Local 872’s Constitution
23   and Bylaws, and unreasonable and improperly applied candidate qualification.
24   Thereafter, OLMS, through its district office in Los Angeles, California, initiated an
25   investigation of Local 872 under Sections 402 and 601 of the LMRDA, 29 U.S.C. §§
26   482 and 521. The investigation seeks to determine based on the allegations raised
27   whether any person associated with Local 872 violated or is violating any provisions of
28   the LMRDA.
                                                   2
           Case 2:18-cv-01185-JAD-CWH Document 1 Filed 06/29/18 Page 3 of 4




 1         6.    In the course of its investigation, OLMS sought to obtain relevant
 2   documents and records and obtain background information about Local 872 and its
 3   nominations process relating to Local 872’s May 31, 2018 election of officers, which
 4   information Local 872 is required to maintain under Section 401 of the LMRDA, 29
 5   U.S.C. § 481.
 6         7.    Under Section 601 of the LMRDA, 29 U.S.C. § 521, the Secretary or his
 7   designated officer is authorized to sign subpoenas, administer oaths and affirmations,
 8   question witnesses, and inspect/receive records and evidence. The Secretary has
 9   delegated authority to sign and issue administrative subpoenas to Regional Directors and
10   District Directors in OLMS.
11         8.    As part of the investigation, on May 16, 2018, OLMS served the Subpoena,
12   by personal delivery on Thomas White, Local 872’s Business Manager/Secretary-
13   Treasurer, seeking the documents and records described in the Subpoena relating to
14   Local 872’s nomination process for its unsupervised election of officers scheduled to be
15   held on May 31, 2018. OLMS also requested interviews of Local 872 union officials.
16         9.    The Subpoena required Local 872 to produce responsive documents and
17   records by May 23, 2018. Because the statute of limitations for bringing an action under
18   the LMRDA in U.S. district court is 60 days after a union member files a complaint with
19   the Agency, under Section 402 of the LMRDA, 29 U.S.C. § 482, return dates for
20   administrative subpoenas issued by OLMS under the LMRDA are expedited.
21         10.   Commencing on May 21, 2018, Local 872, through its counsel, David A.
22   Rosenfeld, has refused to comply with the Subpoena or produce union official for
23   interview by OLMS objecting to the Agency’s jurisdiction to investigate the members’
24   pre-election protests of the nomination process for Local 872’s May 31, 2018 election.
25         11.   Between June 1, 2018 and June 26, 2018, the Secretary and Local 872
26   attempted to reach an out-of-court resolution, but Local 872 was unwilling to produce
27   the documents and records requested by the Subpoena or present Local 872 union
28   officials for interview by OLMS.
                                                 3
           Case 2:18-cv-01185-JAD-CWH Document 1 Filed 06/29/18 Page 4 of 4




 1          RESPONDENT’S FAILURE TO COMPLY WITH THE SUBPOENA
 2         12.    To date, Local 872 has refused to comply with the Subpoena or present
 3   Local 872 union officials for interview by OLMS.
 4         13.    Local 872’s failure to comply with the Subpoena or present Local 872
 5   union officials for interview by OLMS has impeded and is impeding the Secretary’s
 6   investigation, Sections 402 and 601 of the LMRDA, 29 U.S.C. §§ 482 and 521, of the
 7   Local 872 member administrative complaints protesting the nomination process for
 8   Local 872’s May 31, 2018 election of officers.
 9         14.    Commencing on June 1, 2018, despite repeated requests by the Secretary,
10   Local 872 has not agreed to execute a waiver of the statute of limitations in order to
11   allow the parties’ sufficient time to resolve their dispute regarding the documents
12   requested by the Subpoena or present Local 872 union officials for interview by OLMS.
13                                   PRAYER FOR RELIEF
14         WHEREFORE, the Secretary prays this Court enter an Order to Show Cause
15   requiring Local 872 to appear on a date certain to explain why it should not be required
16   to produce the documents and records requested by the Subpoena, and order such other
17   and further relief as may be necessary and appropriate. Further, because Local 872’s
18   failure to comply with the Subpoena has impeded the Secretary’s investigation, the
19   Secretary seeks an order tolling the statute of limitations on the Secretary’s potential
20   claims against Local 872 from May 16, 2018, the date Local 872 was served with the
21   Subpoena, until full compliance by Local 872.
22   Dated: June 29, 2018.                   Respectfully submitted.
23                                           DAYLE ELIESON
                                             United States Attorney
24
                                             TROY K. FLAKE
25                                           Assistant United States Attorney
26                                           /s/ Luis A. Garcia
27                                           LUIS A, GARCIA
                                             Special Assistant United States Attorney
28                                           Attorneys for Petitioner
                                             Secretary of Labor, U.S. Department of Labor
                                                  4
